      Case 2:22-cv-00180-SAB       ECF No. 7   filed 08/17/22   PageID.40 Page 1 of 3




                                               CHIEF JUDGE STANLEY A. BASTIAN
1

2    ROBERT A. DUNN, WSBA No. 12089
     ALEXANDRIA T. DRAKE, WSBA #45188
3
     DUNN & BLACK, P.S.
4    111 North Post, Ste. 300
     Spokane, WA 99201-0907
5    Telephone: (509) 455-8711
6    Facsimile: (509) 455-8734
     Attorneys for Defendants
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8

9                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
10

11   LUXOTTICA GROUP, S.P.A., an                )
     Italian corporation, and OAKLEY,           )   NO. 2:22-cv-00180-SAB
12   INC., a Washington corporation,            )
                                                    DEFENDANT THE STORE ON
13                                              )
                          Plaintiffs,               THOR, LLC’S CORPORATE
                                                )
14                                                  DISCLOSURE STATEMENT
                                                )
            v.                                      (F.R.C.P. 7.1)
15
                                                )
     THE STORE ON THOR, LLC,                    )
16   DANIELLE COSSEY, individually,             )
     and ROBERT COSSEY individually,            )
17
     STACY COSSEY, individually, and            )
18   TYLER COSSEY, individually                 )
                                                )
19                        Defendants.           )
20
           Defendant The Store on Thor, LLC makes the following disclosures pursuant
21

22   to Federal Rule of Civil Procedure 7.1 and LCR 7.1:

23         1.    Defendant The Store on Thor, LLC is a nongovernmental corporate
24
                 party.
25

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      CORPORATE DISCLOSURE                                                  Dunn&Black
                                                                          A Professional Service Corp.
      STATEMENT - 1                                                        111 North Post, Suite 300
                                                                              Spokane, WA 99201
                                                                  VOICE: (509) 455-8711 • FAX: (509) 455-8734
     Case 2:22-cv-00180-SAB   ECF No. 7   filed 08/17/22   PageID.41 Page 2 of 3




         2.   Defendant The Store on Thor, LLC does not have any parent corporation.
1

2        3.   No publicly held corporation owns ten percent (10%) or more of

3             Defendant The Store on Thor, LLC’s stock.
4
         DATED this 17th day of August, 2022.
5
                                 DUNN & BLACK, P.S.
6

7                                s/ ROBERT A. DUNN
                                 ROBERT A. DUNN, WSBA No. 12089
8                                ALEXANDRIA T. DRAKE, WSBA No. 45188
9                                Attorneys for Defendants
                                 Dunn & Black, P.S.
10                               111 North Post, Ste. 300
                                 Spokane, WA 99201-0907
11
                                 Telephone: (509) 455-8711
12                               Fax:       (509) 455-8734
                                 Email: bdunn@dunnandblack.com
13
                                         adrake@dunnandblack.com
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     CORPORATE DISCLOSURE                                              Dunn&Black
                                                                     A Professional Service Corp.
     STATEMENT - 2                                                    111 North Post, Suite 300
                                                                         Spokane, WA 99201
                                                             VOICE: (509) 455-8711 • FAX: (509) 455-8734
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                             CERTIFICATE OF SERVICE
1

2           I HEREBY CERTIFY that on the 17th day of August, 2022, I electronically
     filed the foregoing document with the Clerk of the Court using the CM/EFC
3    system. The CM/ECF system will send notification of such filings to the following:
4          •   Reid Johnson
5              rjohnson@lukins.com; mlindquist@lukins.com

6                                    DUNN & BLACK, P.S.
7                                    s/ ROBERT A. DUNN
                                     ROBERT A. DUNN, WSBA No. 12089
8
                                     ALEXANDRIA T. DRAKE, WSBA No. 45188
9                                    Attorneys for Plaintiff
                                     Dunn & Black, P.S.
10                                   111 North Post, Ste. 300
11                                   Spokane, WA 99201-0907
                                     Telephone: (509) 455-8711
12                                   Fax:       (509) 455-8734
13
                                     Email: bdunn@dunnandblack.com
                                            adrake@dunnandblack.com
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      CORPORATE DISCLOSURE                                                Dunn&Black
                                                                        A Professional Service Corp.
      STATEMENT - 3                                                      111 North Post, Suite 300
                                                                            Spokane, WA 99201
                                                                VOICE: (509) 455-8711 • FAX: (509) 455-8734
